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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 GIRARD PATTERSON and MARIBETH
 MURPHY, individually and on behalf of all         Case No.
 others similarly situated,

                        Plaintiffs,                JURY TRIAL DEMANDED

         v.

 HARVARD PILGRIM HEALTH CARE,
 INC. and POINT32HEALTH, INC.,

                        Defendants.



                                CLASS ACTION COMPLAINT

       Plaintiffs Girard Patterson and Maribeth Murphy, individually, and on behalf of all others

similarly situated (collectively, “Class members”), by and through their attorneys, bring this Class

Action Complaint against Defendants Harvard Pilgrim Health Care, Inc. (“Harvard Pilgrim”) and

Point32Health, Inc. (“Point32”) (together, “Defendants”), and complain and allege upon personal

knowledge as to themselves and information and belief as to all other matters.

                                       INTRODUCTION

       1.      Plaintiffs bring this class action against Defendants for their failure to secure and

safeguard Plaintiff and other current and former health plan members’ personally identifiable

information (“PII”) and personal health information (“PHI”), including names, physical addresses,

phone numbers, dates of birth, health insurance account information, Social Security numbers,

provider taxpayer identification numbers, and clinical information.

       2.      Harvard Pilgrim is a health insurance provider that operates in the New England

region. Point32 is Harvard Pilgrim’s parent company and was created as a result of a merger

between Harvard Pilgrim and Tufts Health Plan.
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       3.      Between March 28, 2023 and April 17, 2023, an unauthorized individual, or

unauthorized individuals, gained access to Defendants’ network systems and accessed and

acquired files from the system that contained the PII/PHI of Plaintiffs and Class members (the

“Data Breach”).

       4.      Defendants owed a duty to Plaintiffs and Class members to implement and maintain

reasonable and adequate security measures to secure, protect, and safeguard their PII/PHI against

unauthorized access and disclosure. Defendants breached that duty by, among other things, failing

to implement and maintain reasonable security procedures and practices to protect its customers’

PII/PHI from unauthorized access and disclosure.

       5.      As a result of Defendants’ inadequate security and breach of their duties and

obligations, the Data Breach occurred, and Plaintiffs’ and Class members’ PII/PHI was accessed

and disclosed. This action seeks to remedy these failings and their consequences. Plaintiffs bring

this action on behalf of themselves and all persons whose PII/PHI was exposed as a result of the

Data Breach.

       6.      Plaintiffs, on behalf of themselves and all other Class members, assert claims for

negligence, breach of fiduciary duty, breach of implied contract, and unjust enrichment, and seek

declaratory relief, injunctive relief, monetary damages, statutory damages, punitive damages,

equitable relief, and all other relief authorized by law.

                                             PARTIES

Plaintiff Girard Patterson

       7.      Plaintiff Patterson is a Massachusetts resident.

       8.      Plaintiff Patterson is a current member of a Harvard Pilgrim health plan.




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        9.       Based on representations made by Defendants, Plaintiff Patterson believed that

Defendants had implemented and maintained reasonable security and practices to protect his

PII/PHI. With this belief in mind, Plaintiff Patterson provided his PII/PHI to Defendants in

connection with and in exchange for receiving health insurance from Defendants.

        10.      In connection with services provided to Plaintiff Patterson, Defendants store and

maintain Plaintiff Patterson’s PII/PHI on their systems, including the system involved in the Data

Breach.

        11.      Had Plaintiff Patterson known that Defendants do not adequately protect the

PII/PHI in their possession, he would not have agreed to provide Defendants with his PII/PHI or

used Defendants’ services.

        12.      As a direct result of the Data Breach, Plaintiff Patterson has suffered injury and

damages including, inter alia, a substantial and imminent risk of identity theft and medical identity

theft; the wrongful disclosure and loss of confidentiality of his highly sensitive PII/PHI;

deprivation of the value of his PII/PHI; and overpayment for services that did not include adequate

data security.

Plaintiff Maribeth Murphy

        13.      Plaintiff Maribeth Murphy is a Massachusetts resident.

        14.      Plaintiff Murphy was a member of a Harvard Pilgrim health plan between 2019 and

2022.

        15.      Based on representations made by Defendants, Plaintiff Murphy believed that

Defendants had implemented and maintained reasonable security and practices to protect her

PII/PHI. With this belief in mind, Plaintiff Murphy provided her PII/PHI to Defendants in

connection with and in exchange for receiving health insurance from Defendants.




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       16.       In connection with services provided to Plaintiff Murphy, Defendants store and

maintain Plaintiff Murphy’s PII/PHI on their systems, including the system involved in the Data

Breach.

       17.       Had Plaintiff Murphy known that Defendants do not adequately protect the PII/PHI

in their possession, she would not have agreed to provide Defendants with her PII/PHI or used

Defendants’ services.

       18.       As a direct result of the Data Breach, Plaintiff Murphy has suffered injury and

damages including, inter alia, a substantial and imminent risk of identity theft and medical identity

theft; the wrongful disclosure and loss of confidentiality of her highly sensitive PII/PHI;

deprivation of the value of her PII/PHI; and overpayment for services that did not include adequate

data security.

Defendant Harvard Pilgrim Health Care, Inc.

       19.       Defendant Harvard Pilgrim Health Care, Inc. is a Massachusetts nonprofit

corporation with its principal place of business in Canton, Massachusetts. Harvard Pilgrim’s

principal place of business is located at 1 Wellness Way, Canton, MA 02021.

Defendant Point32Health Inc.

       20.       Defendant Point32Health, Inc. is a Massachusetts nonprofit corporation with its

principal place of business in Canton, Massachusetts. Point32’s principal place of business is

located at 1 Wellness Way, Canton, MA 02021.

                                  JURISDICTION AND VENUE

       21.       The Court has subject matter jurisdiction over Plaintiffs’ claims under 28 U.S.C. §

1332(d)(2), because (a) there are 100 or more Class members, (b) at least one Class member is a




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citizen of a state that is diverse from Defendants, and (c) the matter in controversy exceeds

$5,000,000, exclusive of interest and costs.

       22.     This Court has personal jurisdiction over Defendants because both Harvard Pilgrim

and Point32 have their principal place of business in Massachusetts.

       23.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because

Defendants’ principal place of business is in Massachusetts and a significant amount of the events

leading to Plaintiffs’ causes of action occurred in this District.

                                   FACTUAL ALLEGATIONS

                                      Overview of Defendants

       24.     Harvard Pilgrim is a nonprofit corporation that, along with its family of companies,

provides health insurance “to more than 3 million customers in New England and beyond.” 1

Point32 is a result of the combination of Harvard Pilgrim with Tufts Health Plan. 2

       25.     Harvard Pilgrim’s website states that the company “values your privacy rights and

is committed to safeguarding your demographic, medical, and financial information we may

receive or collect when providing services to you.”3 The website goes on to state, “Harvard Pilgrim

has privacy and security policies for safeguarding, using, and disclosing information in compliance

with applicable state and federal laws.”4 The website also provides a copy of the Harvard Pilgrim’s

Notice of Privacy Practices.5



1
  About Us, HARVARD PILGRIM HEALTH CARE, https://www.harvardpilgrim.org/public/about-us
(last accessed Mar. 15, 2023).
2
  Our Story, POINT32HEALTH, https://www.point32health.org/about-us/ourstory/ (last accessed
May 30, 2023).
3
  Privacy Disclaimer Statements, HARVARD PILGRIM HEALTH CARE,
https://www.harvardpilgrim.org/public/privacy-disclaimer-statements (last accessed Mar. 15,
2023).
4
  Id.
5
  Id.


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        26.         Point32 also has a privacy policy on its website, which states, “When we link to the

sites of Harvard Pilgrim Health Care or Tufts Health Plan business associates where personal

health information (PHI) is collected on our behalf, those sites are required to safeguard

information in accordance with HIPAA.”6

        27.         Plaintiffs and Class members are, or were, customers of Defendants and entrusted

Defendants with their PII/PHI.

                                             The Data Breach

        28.         Between March 28, 2023 and April 17, 2023, an unauthorized individual, or

unauthorized individuals, gained access to Defendants’ network systems and accessed and acquired

certain files on Defendants’ computer systems.7 Defendants’ breach notice states that their

“investigation identified signs that data was copied and taken from our Harvard Pilgrim

systems . . . .”8

        29.         The Data Breach notice identifies the following persons as those who “may have

been impacted” by the Data Breach:

        You may have been impacted if you are a current or former member of Harvard
        Pilgrim (including individual and family plans purchased directly from us, state-
        based exchanges or plans selected through your employer) between March 28, 2012,
        and present, or if you are a provider currently contracted with Harvard Pilgrim.

        You may also have been impacted if you are a current or former member of Health
        Plans Inc. between June 1, 2020, and present. Harvard Pilgrim is still investigating
        this incident and will provide updates if the investigation determines additional
        individuals may potentially be impacted.9




6
  Privacy & Security, POINT32HEALTH, https://www.point32health.org/privacy-policy/ (last
accessed May 30, 2023).
7
  Harvard Pilgrim Health Care Provides Notice of Data Security Incident,
https://www.harvardpilgrim.org/data-security-incident/ (last accessed May 30, 2023).
8
  Id.
9
  Id.


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       30.     Defendants’ notification states that the information that the cybercriminal(s) copied

and extracted includes the following PII/PHI: “names, physical addresses, phone numbers, dates of

birth, health insurance account information, Social Security numbers, provider taxpayer

identification numbers, and clinical information (e.g., medical history, diagnoses, treatment, dates

of service, and provider names).”10

       31.     The Data Breach has caused disruptions with the services Defendants provide,

including the approval of prescriptions.11 As of May 30, 2023, over a month after the Data Breach

occurred, Harvard Pilgrim’s full website is still not functioning, with the website stating, “While

we work to restore our full business operations, a number of services, tools and platforms may still

be unavailable.”12

                        Defendants Knew that Criminals Target PII/PHI

       32.     At all relevant times, Defendants knew, or should have known, that the PII/PHI that

it collected was a target for malicious actors. Despite such knowledge, Defendants failed to

implement and maintain reasonable and appropriate data privacy and security measures to protect

Plaintiffs’ and Class members’ PII/PHI from cyber-attacks that Defendants should have

anticipated and guarded against.

       33.     It is well known among companies that store sensitive personally identifying

information that sensitive information—such as the Social Security numbers (“SSNs”) and

medical information stolen in the Data Breach—is valuable and frequently targeted by criminals.




10
   Id.
11
   Andrea Fox, Massachusetts Health Data Breach Involving Harvard Pilgrim Health Care
Confirmed, HealthCareITNews (May 26, 2023),
https://www.healthcareitnews.com/news/massachusetts-health-data-breach-involving-harvard-
pilgrim-health-care-confirmed.
12
   Harvard Pilgrim Health Care, https://www.harvardpilgrim.org/ (last accessed May 30, 2023).


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In a recent article, Business Insider noted that “[d]ata breaches are on the rise for all kinds of

businesses, including retailers . . . . Many of them were caused by flaws in . . . systems either online

or in stores.”13

        34.        Cyber criminals seek out PHI at a greater rate than other sources of personal

information. In a 2023 report, the healthcare compliance company Protenus found that there were

956 medical data breaches in 2022 with over 59 million patient records exposed. 14 This is an

increase from the 758 medical data breaches which exposed approximately 40 million records that

Protenus compiled in 2020.15

        35.        PII/PHI is a valuable property right.16 The value of PII/PHI as a commodity is

measurable.17 “Firms are now able to attain significant market valuations by employing business

models predicated on the successful use of personal data within the existing legal and regulatory

frameworks.”18 American companies are estimated to have spent over $19 billion on acquiring

personal data of consumers in 2018.19 It is so valuable to identity thieves that once PII/PHI has




13
   Dennis Green, Mary Hanbury & Aine Cain, If you bought anything from these 19 companies
recently, your data may have been stolen, BUS. INSIDER (Nov. 19, 2019, 8:05 A.M.),
https://www.businessinsider.com/data-breaches-retailers-consumer-companies-2019-1.
14
   See PROTENUS, 2023 Breach Barometer, PROTENUS.COM, https://www.protenus.com/breach-
barometer-report (last accessed May 30, 2023).
15
   See id.
16
   See Marc van Lieshout, The Value of Personal Data, 457 INT’L FED’N FOR INFO. PROCESSING
26 (May 2015) (“The value of [personal] information is well understood by marketers who try to
collect as much data about personal conducts and preferences as possible…”),
https://www.researchgate.net/publication/283668023_The_Value_of_Personal_Data.
17
   See Robert Lowes, Stolen EHR [Electronic Health Record] Charts Sell for $50 Each on Black
Market, MEDSCAPE.COM (April 28, 2014), http://www.medscape.com/viewarticle/824192.
18
   OECD, Exploring the Economics of Personal Data: A Survey of Methodologies for Measuring
Monetary Value, OECD ILIBRARY (April 2, 2013), https://www.oecd-ilibrary.org/science-and-
technology/exploring-the-economics-of-personal-data_5k486qtxldmq-en.
19
   See IAB Data Center of Excellence, U.S. Firms to Spend Nearly $19.2 Billion on Third-Party
Audience Data and Data-Use Solutions in 2018, Up 17.5% from 2017, IAB.COM (Dec. 5, 2018),
https://www.iab.com/news/2018-state-of-data-report/.


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been disclosed, criminals often trade it on the “cyber black-market,” or the “dark web,” for many

years.

         36.   As a result of the real and significant value of this material, identity thieves and

other cyber criminals have openly posted credit card numbers, SSNs, PII/PHI, and other sensitive

information directly on various Internet websites making the information publicly available. This

information from various breaches, including the information exposed in the Data Breach, can be

readily aggregated and become more valuable to thieves and more damaging to victims.

         37.   PHI is particularly valuable and has been referred to as a “treasure trove for

criminals.”20 A cybercriminal who steals a person’s PHI can end up with as many as “seven to ten

personal identifying characteristics of an individual.” 21

         38.   All-inclusive health insurance dossiers containing sensitive health insurance

information, names, addresses, telephone numbers, email addresses, SSNs, and bank account

information, complete with account and routing numbers, can fetch up to $1,200 to $1,300 each

on the black market.22 According to a report released by the Federal Bureau of Investigation’s

(“FBI”) Cyber Division, criminals can sell healthcare records for 50 times the price of a stolen

Social Security or credit card number. 23



20
   See Andrew Steager, What Happens to Stolen Healthcare Data, HEALTHTECH MAGAZINE
(Oct. 20, 2019), https://healthtechmagazine.net/article/2019/10/what-happens-stolen-healthcare-
data-perfcon (“What Happens to Stolen Healthcare Data”) (quoting Tom Kellermann, Chief
Cybersecurity Officer, Carbon Black, stating “Health information is a treasure trove for
criminals.”).
21
   Id.
22
   See SC Staff, Health Insurance Credentials Fetch High Prices in the Online Black Market, SC
MAG. (July 16, 2013), https://www.scmagazine.com/news/breach/health-insurance-credentials-
fetch-high-prices-in-the-online-black-market.
23
   See Federal Bureau of Investigation, Health Care Systems and Medical Devices at Risk for
Increased Cyber Intrusions for Financial Gain (April 8, 2014),
https://www.illuminweb.com/wp-content/uploads/ill-mo-uploads/103/2418/health-systems-
cyber-intrusions.pdf.


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       39.     Criminals can use stolen PII/PHI to extort a financial payment by “leveraging

details specific to a disease or terminal illness.”24 Quoting Carbon Black’s Chief Cybersecurity

Officer, one recent article explained: “Traditional criminals understand the power of coercion and

extortion . . . By having healthcare information—specifically, regarding a sexually transmitted

disease or terminal illness—that information can be used to extort or coerce someone to do what

you want them to do.”25

       40.     Consumers place a high value on the privacy of that data, as they should.

Researchers shed light on how much consumers value their data privacy—and the amount is

considerable. Indeed, studies confirm that “when privacy information is made more salient and

accessible, some consumers are willing to pay a premium to purchase from privacy protective

websites.”26

       41.     Given these facts, any company that transacts business with a consumer and then

compromises the privacy of consumers’ PII/PHI has thus deprived that consumer of the full

monetary value of the consumer’s transaction with the company.

               Theft of PII/PHI Has Grave and Lasting Consequences for Victims

       42.     Theft of PII/PHI is serious. The FTC warns consumers that identity thieves use

PII/PHI to exhaust financial accounts, receive medical treatment, start new utility accounts, and

incur charges and credit in a person’s name. 27



24
   What Happens to Stolen Healthcare Data, supra n.18.
25
   Id.
26
   Janice Y. Tsai et al., The Effect of Online Privacy Information on Purchasing Behavior, An
Experimental Study, 22(2) INFO. SYS. RSCH. 254 (June 2011)
https://www.jstor.org/stable/23015560?seq=1.
27
   See Federal Trade Commission, What to Know About Identity Theft, FED. TRADE COMM’N
CONSUMER INFO.,
https://www.consumer.ftc.gov/articles/what-know-about-identity-theft (last accessed May 30,
2023).


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       43.     Identity thieves use personal information for a variety of crimes, including credit

card fraud, phone or utilities fraud, and bank/finance fraud. 28 Experian, one of the largest credit

reporting companies in the world, warns consumers that “[i]dentity thieves can profit off your

personal information” by, among other things, selling the information, taking over accounts, using

accounts without permission, applying for new accounts, obtaining medical procedures, filing a

tax return, and applying for government benefits.29

       44.     With access to an individual’s PII/PHI, criminals can do more than just empty a

victim’s bank account—they can also commit all manner of fraud, including: obtaining a driver’s

license or official identification card in the victim’s name but with the thief’s picture; using the

victim’s name and SSN to obtain government benefits; or, filing a fraudulent tax return using the

victim’s information. In addition, identity thieves may even give the victim’s personal information

to police during an arrest.30




28
   The FTC defines identity theft as “a fraud committed or attempted using the identifying
information of another person without authority.” 12 C.F.R. § 1022.3(h). The FTC describes
“identifying information” as “any name or number that may be used, alone or in conjunction
with any other information, to identify a specific person,” including, among other things,
“[n]ame, social security number, date of birth, official State or government issued driver's license
or identification number, alien registration number, government passport number, employer or
taxpayer identification number.” 12 C.F.R. § 1022.3(g).
29
   See Louis DeNicola, What Can Identity Thieves Do with Your Personal Information and How
Can You Protect Yourself, EXPERIAN (May 21, 2023), https://www.experian.com/blogs/ask-
experian/what-can-identity-thieves-do-with-your-personal-information-and-how-can-you-
protect-yourself/.
30
   See Federal Trade Commission, Warning Signs of Identity Theft, IDENTITYTHEFT.GOV
https://www.identitytheft.gov/Warning-Signs-of-Identity-Theft (last accessed May 30, 2023).


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        45.     Identity theft is not an easy problem to solve. In a survey, the Identity Theft

Resource Center found that most victims of identity crimes need more than a month to resolve

issues stemming from identity theft and some need over a year.31

        46.     Theft of SSNs also creates a particularly alarming situation for victims because

those numbers cannot easily be replaced. In order to obtain a new number, a breach victim has to

demonstrate ongoing harm from misuse of their SSN, and a new SSN will not be provided until

after the harm has already been suffered by the victim.

        47.     Due to the highly sensitive nature of SSNs, theft of SSNs in combination with other

PII (e.g., name, address, date of birth) is akin to having a master key to the gates of fraudulent

activity. TIME quotes data security researcher Tom Stickley, who is employed by companies to

find flaws in their computer systems, as stating, “If I have your name and your Social Security

number and you don’t have a credit freeze yet, you’re easy pickings.” 32

        48.     Theft of PII is even more serious when it includes theft of PHI. Data breaches

involving medical information “typically leave[] a trail of falsified information in medical records

that can plague victims’ medical and financial lives for years.” 33 It “is also more difficult to detect,

taking almost twice as long as normal identity theft.” 34 In warning consumers on the dangers of

medical identity theft, the FTC states that an identity thief may use PII/PHI “to see a doctor, get



31
   See Identity Theft Resource Center, 2021 Consumer Aftermath Report, IDENTITY THEFT RES.
CTR. (2021), https://www.idtheftcenter.org/identity-theft-aftermath-study/ (last accessed May 30,
2023).
32
   Patrick Lucas Austin, ‘It Is Absurd.’ Data Breaches Show it’s Time to Rethink How We Use
Social Security Numbers, Experts Say, TIME (August 5, 2019),
https://time.com/5643643/capital-one-equifax-data-breach-social-security/.
33
   Pam Dixon and John Emerson, The Geography of Medical Identity Theft, FTC.GOV (Dec. 12,
2017), http://www.worldprivacyforum.org/wp-
content/uploads/2017/12/WPF_Geography_of_Medical_Identity_Theft_fs.pdf.
34
   See Federal Bureau of Investigation, Health Care Systems and Medical Devices at Risk…,
supra n.21.


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prescription drugs, buy medical devices, submit claims with your insurance provider, or get other

medical care.” 35 The FTC also warns, “If the thief’s health information is mixed with yours it

could affect the medical care you’re able to get or the health insurance benefits you’re able to

use.”36

          49.   A report published by the World Privacy Forum and presented at the US FTC

Workshop on Informational Injury describes what medical identity theft victims may experience:

           •    Changes to their health care records, most often the addition of falsified
                information, through improper billing activity or activity by imposters. These
                changes can affect the healthcare a person receives if the errors are not caught and
                corrected.

           •    Significant bills for medical goods and services neither sought nor received.

           •    Issues with insurance, co-pays, and insurance caps.

           •    Long-term credit problems based on problems with debt collectors reporting debt
                due to identity theft.

           •    Serious life consequences resulting from the crime; for example, victims have been
                falsely accused of being drug users based on falsified entries to their medical files;
                victims have had their children removed from them due to medical activities of the
                imposter; victims have been denied jobs due to incorrect information placed in their
                health files due to the crime.

           •    As a result of improper and/or fraudulent medical debt reporting, victims may not
                qualify for mortgage or other loans and may experience other financial impacts.

           •    Phantom medical debt collection based on medical billing or other identity
                information.

           •    Sales of medical debt arising from identity theft can perpetuate a victim’s debt
                collection and credit problems, through no fault of their own. 37




35
   See What to Know About Medical Identity Theft, FEDERAL TRADE COMMISSION CONSUMER
INFORMATION, https://www.consumer.ftc.gov/articles/what-know-about-medical-identity-theft
(last accessed May 30, 2023).
36
   Id.
37
   See Pam Dixon and John Emerson, The Geography of Medical Identity Theft, supra n.31.


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       50.     There may also be a time lag between when sensitive personal information is stolen,

when it is used, and when a person discovers it has been used. For example, on average it takes

approximately three months for consumers to discover their identity has been stolen and used, but

it takes some individuals up to three years to learn that information. 38

       51.     It is within this context that Plaintiffs and Class members must now live with the

knowledge that their PII/PHI is forever in cyberspace and was taken by and in the possession of

people willing to use the information for any number of improper purposes and scams, including

making the information available for sale on the black-market.

                 Damages Sustained by Plaintiffs and the Other Class Members

       52.     Plaintiffs and Class members have suffered and will suffer injury, including, but

not limited to: (i) a substantially increased and imminent risk of identity theft; (ii) the compromise,

publication, and theft of their PII/PHI; (iii) out-of-pocket expenses associated with the prevention,

detection, and recovery from unauthorized use of their PII/PHI; (iv) lost opportunity costs

associated with efforts attempting to mitigate the actual and future consequences of the Data

Breach; (v) the continued risk to their PII/PHI which remains in Defendants’ possession; (vi) future

costs in terms of time, effort, and money that will be required to prevent, detect, and repair the

impact of the PII/PHI compromised as a result of the Data Breach; and (vii) overpayment for the

services that were received without adequate data security.

                                     CLASS ALLEGATIONS

       53.     This action is brought and may be properly maintained as a class action pursuant to

Rule 23 of the Federal Rules of Civil Procedure.



38
   John W. Coffey, Difficulties in Determining Data Breach Impacts, 17 J. OF SYSTEMICS,
CYBERNETICS AND INFORMATICS 9 (2019),
http://www.iiisci.org/journal/pdv/sci/pdfs/IP069LL19.pdf.


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        54.     Plaintiffs bring this action on behalf of themselves and all members of the following

Nationwide Class of similarly situated persons:

        All persons whose personally identifiable information or personal health
        information was compromised in the Data Breach by unauthorized persons,
        including all persons who were sent a notice of the Data Breach.

        55.     Excluded from the Class are Harvard Pilgrim Health Care, Inc., Point32Health, Inc.

and their affiliates, parents, subsidiaries, officers, agents, and directors, as well as the judge(s)

presiding over this matter and the clerks of said judge(s).

        56.     Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

Plaintiffs can prove the elements of their claims on a class-wide basis using the same evidence as

would be used to prove those elements in individual actions alleging the same claims.

        57.     The members of the Class are so numerous that joinder of all Class members in a

single proceeding would be impracticable. While Defendants have not yet stated the total number

of persons affected by the Data Breach, based on the number of customers that Harvard Pilgrim

does business with, Plaintiffs estimate that the Data Breach affected hundreds of thousands or even

over a million persons.

        58.     Common questions of law and fact exist as to all Class members and predominate

over any potential questions affecting only individual Class members. Such common questions of

law or fact include, inter alia:

                a. Whether Defendants had a duty to implement and maintain reasonable security

                    procedures and practices to protect and secure Plaintiffs’ and Class members’

                    PII/PHI from unauthorized access and disclosure;

                b. Whether Defendants had duties not to disclose the PII/PHI of Plaintiffs and

                    Class members to unauthorized third parties;




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               c. Whether Defendants failed to exercise reasonable care to secure and safeguard

                   Plaintiffs’ and Class members’ PII/PHI;

               d. Whether an implied contract existed between Class members and Defendants,

                   providing that Defendants would implement and maintain reasonable security

                   measures to protect and secure Class members’ PII/PHI from unauthorized

                   access and disclosure;

               e. Whether Defendants engaged in unfair, unlawful, or deceptive practices by

                   failing to safeguard the PII/PHI of Plaintiffs and Class members;

               f. Whether Defendants breached their duties to protect Plaintiffs’ and Class

                   members’ PII/PHI; and

               g. Whether Plaintiffs and Class members are entitled to damages and the measure

                   of such damages and relief.

       59.     Defendants engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by Plaintiffs, on behalf of themselves and all other Class members. Individual

questions, if any, pale in comparison, in both quantity and quality, to the numerous common

questions that dominate this action.

       60.     Plaintiffs’ claims are typical of the claims of the Class. Plaintiffs, like all proposed

members of the Class, had their PII/PHI compromised in the Data Breach. Plaintiffs and Class

members were injured by the same wrongful acts, practices, and omissions committed by

Defendants, as described herein. Plaintiffs’ claims therefore arise from the same practices or course

of conduct that give rise to the claims of all Class members.

       61.     Plaintiffs will fairly and adequately protect the interests of the Class members.

Plaintiffs are adequate representatives of the Class in that they have no interests adverse to, or




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that conflict with, the Class they seek to represent. Plaintiffs have retained counsel with

substantial experience and success in the prosecution of complex consumer protection class

actions of this nature.

       62.     A class action is superior to any other available means for the fair and efficient

adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. The damages and other financial detriment suffered by Plaintiffs

and Class members are relatively small compared to the burden and expense that would be required

to individually litigate their claims against Defendants, so it would be impracticable for Class

members to individually seek redress from Defendants’ wrongful conduct. Even if Class members

could afford individual litigation, the court system could not. Individualized litigation creates a

potential for inconsistent or contradictory judgments and increases the delay and expense to all

parties and the court system. By contrast, the class action device presents far fewer management

difficulties and provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court.

                                    CAUSES OF ACTION

                                          COUNT I
                                        NEGLIGENCE

       63.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs as if

fully set forth herein.

       64.     Defendants owed a duty to Plaintiffs and Class members to exercise reasonable care

in safeguarding, securing, and protecting the PII/PHI in their possession, custody, or control.

       65.     Defendants’ duties arise from, inter alia, the HIPAA Privacy Rule (“Standards

for Privacy of Individually Identifiable Health Information”), 45 C.F.R. Part 160 and Part 164,

Subparts A and E, and the HIPAA Security Rule (“Security Standards for the Protection of



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Electronic Protected Health Information”), 45 C.F.R. Part 160 and Part 164, Subparts A and

C (collectively, “HIPAA Privacy and Security Rules”). Plaintiffs and Class members are the

persons that the HIPAA Privacy and Security Rules were intended to protect and the harm

that Plaintiffs and Class members suffered is the type of harm the rules were intended to guard

against.

       66.     Defendants’ duties also arise from Section 5 of the FTC Act (“FTCA”), 15

U.S.C. § 45(a)(1), which prohibits “unfair . . . practices in or affecting commerce,” including,

as interpreted by the FTC, the unfair act or practice by business, such as Defendants, of failing

to employ reasonable measures to protect and secure PII/PHI. Plaintiffs and Class members

are the persons that Section 5 of the FTCA was intended to protect and the harm that Plaintiffs

and Class members suffered is the type of harm Section 5 of the FTCA intended to guard

against.

       67.     Defendants knew or should have known the risks of collecting and storing

Plaintiffs’ and all other Class members’ PII/PHI and the importance of maintaining secure

systems. Defendants knew or should have known of the many data breaches that have targeted

companies that stored PII/PHI in recent years.

       68.     Given the nature of Defendants’ business, the sensitivity and value of the

PII/PHI it maintains, and the resources at their disposal, Defendants should have identified the

vulnerabilities to its systems and prevented the Data Breach from occurring.

       69.     Defendants make explicit statements on their website that they will follow

privacy laws and regulations and use reasonable methods to protect the PII/PHI in their

control.




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       70.     Defendants breached these duties by failing to exercise reasonable care in

safeguarding and protecting Plaintiffs’ and Class members’ PII/PHI by failing to design, adopt,

implement, control, direct, oversee, manage, monitor, and audit appropriate data security

processes, controls, policies, procedures, protocols, and software and hardware systems to

safeguard and protect PII/PHI entrusted to them—including Plaintiffs’ and Class members’

PII/PHI.

       71.     Plaintiffs and Class members had no ability to protect their PII/PHI that was,

or remains, in Defendants’ possession.

       72.     It was or should have been reasonably foreseeable to Defendants that their failure

to exercise reasonable care in safeguarding and protecting Plaintiffs’ and Class members’ PII/PHI

by failing to design, adopt, implement, control, direct, oversee, manage, monitor, and audit

appropriate data security processes, controls, policies, procedures, protocols, and software and

hardware systems would result in the unauthorized release, disclosure, and dissemination of

Plaintiffs’ and Class members’ PII/PHI to unauthorized individuals.

       73.     But for Defendants’ negligent conduct or breach of the above-described duties

owed to Plaintiffs and Class members, their PII/PHI would not have been compromised. The

PII/PHI of Plaintiffs and the Class was lost and accessed as the proximate result of Defendants’

failure to exercise reasonable care in safeguarding, securing, and protecting such PII/PHI by, inter

alia, adopting, implementing, and maintaining appropriate security measures.

       74.     As a result of Defendants’ above-described wrongful actions, inaction, and want of

ordinary care that directly and proximately caused the Data Breach, Plaintiffs and Class members

have suffered and will suffer injury, including, but not limited to: (i) a substantially increased

and imminent risk of identity theft; (ii) the compromise, publication, and theft of their PII/PHI;




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(iii) out-of-pocket expenses associated with the prevention, detection, and recovery from

unauthorized use of their PII/PHI; (iv) lost opportunity costs associated with efforts

attempting to mitigate the actual and future consequences of the Data Breach; (v) the

continued risk to their PII/PHI which remains in Defendants’ possession; (vi) future costs in

terms of time, effort, and money that will be required to prevent, detect, and repair the impact

of the PII/PHI compromised as a result of the Data Breach; and (vii) overpayment for the

services that were received without adequate data security.

                                     COUNT II
                             BREACH OF FIDUCIARY DUTY

       75.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs as if

fully set forth herein.

       76.     As a condition of obtaining services from Defendants, Plaintiffs and Class

members gave Defendants their PII/PHI in confidence, believing that Defendants would protect

that information. Plaintiffs and Class members would not have provided Defendants with this

information had they known it would not be adequately protected. Defendants’ acceptance and

storage of Plaintiffs’ and Class members’ PII/PHI created a fiduciary relationship between

Defendants and Plaintiffs and Class members. In light of this relationship, Defendants must act

primarily for the benefit of their customers, which includes safeguarding and protecting

Plaintiffs’ and Class members’ PII/PHI.

       77.     Defendants have a fiduciary duty to act for the benefit of Plaintiffs and Class

members upon matters within the scope of their relationship. It breached that duty by failing

to properly protect the integrity of the system containing Plaintiffs’ and Class members’

PII/PHI, failing to comply with the data security guidelines set forth by HIPAA, and otherwise

failing to safeguard Plaintiffs’ and Class members’ PII/PHI that it collected.



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       78.     As a direct and proximate result of Defendants’ breach of their fiduciary duties,

Plaintiffs and Class members have suffered and will suffer injury, including, but not limited

to: (i) a substantially increased and imminent risk of identity theft; (ii) the compromise,

publication, and theft of their PII/PHI; (iii) out-of-pocket expenses associated with the prevention,

detection, and recovery from unauthorized use of their PII/PHI; (iv) lost opportunity costs

associated with efforts attempting to mitigate the actual and future consequences of the Data

Breach; (v) the continued risk to their PII/PHI which remains in Defendants’ possession; (vi) future

costs in terms of time, effort, and money that will be required to prevent, detect, and repair the

impact of the PII/PHI compromised as a result of the Data Breach; and (vii) overpayment for the

services that were received without adequate data security.

                                     COUNT III
                            BREACH OF IMPLIED CONTRACT

       79.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs as if

fully set forth herein.

       80.     In connection with receiving health care services, Plaintiffs and all other Class

members entered into implied contracts with Defendants.

       81.     Pursuant to these implied contracts, Plaintiffs and Class members paid money

to Defendants and provided Defendants with their PII/PHI. In exchange, Defendants agreed to,

among other things, and Plaintiffs understood that Defendants would: (1) provide products or

services to Plaintiffs and Class members; (2) take reasonable measures to protect the security

and confidentiality of Plaintiffs’ and Class members’ PII/PHI; and (3) protect Plaintiffs’ and

Class members’ PII/PHI in compliance with federal and state laws and regulations and

industry standards.




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       82.     The protection of PII/PHI was a material term of the implied contracts between

Plaintiffs and Class members, on the one hand, and Defendants, on the other hand. Indeed, as

set forth supra, Defendants recognized the importance of data security and the privacy of their

customers’ PII/PHI on their respective websites. Had Plaintiffs and Class members known

that Defendants would not adequately protect their customers’ and former customers’ PII/PHI,

they would not have paid for products or services from Defendants.

       83.     Plaintiffs and Class members performed their obligations under the implied

contract when they provided Defendants with their PII/PHI and paid for services from

Defendants, expecting that their PII/PHI would be protected.

       84.     Defendants breached their obligations under their implied contracts with

Plaintiffs and Class members in failing to implement and maintain reasonable security

measures to protect and secure their PII/PHI, and in failing to implement and maintain security

protocols and procedures to protect Plaintiffs’ and Class members’ PII/PHI in a manner that

complies with applicable laws, regulations, and industry standards.

       85.     Defendants’ breach of their obligations of the implied contracts with Plaintiffs

and Class members directly resulted in the Data Breach and the resulting injuries to Plaintiffs

and Class members.

       86.     Plaintiffs and all other Class members were damaged by Defendants’ breach of

implied contracts because: (i) they paid—directly or through their insurers—for data security

protection they did not receive; (ii) they now face a substantially increased and imminent risk of

identity theft and medical identity theft—risks justifying expenditures for protective and remedial

services for which they are entitled to compensation; (iii) their PII/PHI was improperly disclosed

to unauthorized individuals; (iv) the confidentiality of their PII/PHI has been breached; (v) they




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were deprived of the value of their PII/PHI, for which there is a well-established national and

international market; (vi) they lost time and money incurred to mitigate and remediate the effects

of the Data Breach, including the increased risks of medical identity theft they face and will

continue to face; and (vii) they overpaid for the services that were received without adequate data

security.

                                         COUNT IV
                                    UNJUST ENRICHMENT

       87.      Plaintiffs re-allege and incorporate by reference all preceding paragraphs as if

fully set forth herein.

       88.      This claim is pleaded in the alternative to the breach of implied contract claim.

       89.      In obtaining services from Defendants, Plaintiffs and Class members provided

and entrusted their PII and PHI to Defendants.

       90.      Plaintiffs and Class members conferred a monetary benefit upon Defendants in the

form of monies paid for services, with an implicit understanding that Defendants would use some

of these payments to protect the PII/PHI they collect.

       91.      Defendants accepted or had knowledge of the benefits conferred upon them by

Plaintiffs and Class Members. Defendants also benefitted from the receipt of Plaintiffs’ and Class

members’ PII/PHI, as this was used to facilitate billing and payment services.

       92.      As a result of Defendants’ conduct, Plaintiffs and Class members suffered actual

damages in an amount equal to the difference in value between their payments made with

reasonable data privacy and security practices and procedures that Plaintiffs and Class members

paid for, and those payments without reasonable data privacy and security practices and procedures

that they received.




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          93.    Defendants should not be permitted to retain the money belonging to Plaintiffs and

Class members because Defendants failed to adequately implement the data privacy and security

procedures that Plaintiffs and Class members paid for and that were otherwise mandated by

federal, state, and local laws and industry standards.

          94.    Defendants should be compelled to provide for the benefit of Plaintiffs and Class

members all unlawful proceeds received by them as a result of the conduct and Data Breach alleged

herein.

                                     PRAYER FOR RELIEF

          Plaintiffs, individually and on behalf of all other members of the Class, respectfully

request that the Court enter judgment in their favor and against Defendants as follows:

          A.     Certifying the Class as requested herein, designating Plaintiffs as Class

representatives, and appointing Plaintiffs’ counsel as Class Counsel;

          B.     Awarding Plaintiffs and the Class appropriate monetary relief, including actual

damages, statutory damages, punitive damages, restitution, and disgorgement;

          C.     Awarding Plaintiffs and the Class equitable, injunctive, and declaratory relief,

as may be appropriate. Plaintiffs, on behalf of themselves and the Class, seek appropriate

injunctive relief designed to prevent Defendants from experiencing another data breach by

adopting and implementing best data security practices to safeguard PII/PHI and to provide

or extend credit monitoring services and similar services to protect against all types of identity

theft and medical identity theft;

          D.     Awarding Plaintiffs and the Class pre-judgment and post-judgment interest to

the maximum extent allowable;




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       E.      Awarding Plaintiffs and the Class reasonable attorneys’ fees, costs, and

expenses, as allowable; and

       F.      Awarding Plaintiffs and the Class such other favorable relief as allowable under

law.

                                   JURY TRIAL DEMANDED

            Plaintiffs demand a trial by jury of all claims in this Class Action Complaint so triable.


 Dated: May 30, 2023                                Respectfully submitted,

                                                    /s/ David Pastor
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